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                                     IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  ATS TREE SERVICES,                                          :             Civil Action
  LLC,                                                        :
                   v.                                         :
                                                              :
  FEDERAL TRADE
  COMMISSION, defendant.                                      :             No.: 2:24-cv-1743-KBH


                                                           ORDER

                   AND NOW, this                  day of                                     20     , it is hereby

                                                     Phillip R. Malone
                   ORDERED that the application of ____________________________________, Esquire,

to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) is


                        GRANTED.1

                        DENIED.




                                                                                                         , J.




1 Instructions to request electronic filing access can be found on this court's website at https://www.paed.uscourts.gov/

nextgen-cmecf.
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                                                 IN THE UNITED STATES DISTRICT COURT
                                               FOR THE EASTERN DISTRICT OFPENNSYLVANIA

                                                                                                  Civil Action No#
                                                                                                                     2:24-cv-1743-KBH

                         APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT
                                   PURSUANT TO LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)

I. APPLICANT’S STATEMENT

         I,
             Phillip R. Malone                                    the undersigned, am an attorney who is not currently admitted to
either the bar of this court or the bar of the Supreme Court of Pennsylvania, and I hereby apply for admission to practice in this
court pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number ECF-- credit card , for the $75.00 admission
fee.

A.       I state that I am currently admitted to practice in the following state jurisdictions:
                       California                          1990                           163969
                    (State where admitted)            (Admission date)               (Attorney Identification Number)
                      Massachusetts                      2013                           625130
                      (State where admitted)           (Admission date)              (Attorney Identification Number)
                       Arizona (inactive)                1984                                9758
                      (State where admitted)           (Admission date)              (Attorney Identification Number)


B.       I state that I am currently admitted to practice in the following federal jurisdictions:
                      US Supreme Court                 2014                             N/A
                    (Court where admitted)            (Admission date)               (Attorney Identification Number)
                       Second Circuit                    2015                         N/A
                      (Court where admitted)           (Admission date)              (Attorney Identification Number)
                      See attached sheet             for additional bars
                      (Court where admitted)           (Admission date)              (Attorney Identification Number)

C.       I state that I am at present a member of the aforesaid bars in good standing, and that I will demean myself as an attorney
         of this court uprightly and according to law, and that I will support and defend the Constitution of the United States.
                                                      ___________________________________________
         I am entering my appearance for
                                                      (Applicant’s Signature)
         Amici Curiae Law, Business, and               06/05/2024
                                                      ___________________________________________
         Economics Professors and Scholars
                                                      (Date)

            Name of Applicant's Firm    Juelsgaard Intellectual Property & Innovation Clinic, Stanford Law School
            Address                       559 Nathan Abbott Way, Stanford, CA 94305
            Telephone Number              650-725-6369
            Email Address                 pmalone@law.stanford.edu

       I declare under penalty of perjury that the foregoing is true and correct.


                       06/06/2024
       Executed on __________________________                                      ______________________________________
                            (Date)                                                         (Applicant’s Signature)

                                                                                                                                04/20
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 II. SPONSOR’S STATEMENT, MOTION AND CERTIFICATE OF SERVICE

           The undersigned member of the bar of the United States District Court for the Eastern District of Pennsylvania
 hereby moves for the admission of Phillip R. Malone                                                                  to practice
 in said court pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or after reasonable inquiry believe)
 that the applicant is a member in good standing of the above- referenced state and federal courts and that the applicant’s
 private and personal character is good. I certify that this application form was on this date mailed, with postage prepaid, to
 all interested counsel.

 Alia Al-Khatib
 ______________________              _________________________
                                                                             July 11, 2018
                                                                             ____________________
                                                                                                         325456
                                                                                                       ___________________
 (Sponsor’s Name)                    (Sponsor’s Signature)                   (Admission date)           (Attorney
                                                                                                       Identification No.)


 SPONSOR’S OFFICE ADDRESS AND TELEPHONE NUMBER:

      Civil Practice Clinic, University of Pennsylvania Carey Law School
      3501 Sansom Street, Philadelphia, PA 19104
      215-898-8427




I declare under penalty of perjury that the foregoing is true and correct.

                June 6, 2024
Executed on __________________________                          ____________________________________________
                       (Date)                                                (Sponsor’s Signature)
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                                   IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   ATS TREE SERVICES, LLC,                                :             Civil Action
                                                          :
                  v.                                      :
                                                          :
   FEDERAL TRADE COMMISSION                               :             No.: 2:24-cv-1743-KBH


                                             CERTIFICATE OF SERVICE

                                                                                           Phillip R. Malone
                 I declare under penalty of perjury that a copy of the application of _________________________,

Esquire, to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant proposed

Order which, if granted, would permit such practice in this court was served as follows:


  Through filing with the court's ecf system.




                                                                        ____________________________________
                                                                        (Signature of Attorney)
                                                                           Alia Al-Khatib
                                                                        ____________________________________
                                                                        (Name of Attorney)
                                                                         Amici Law, Business, and Economics Professors and Scholars
                                                                        ____________________________________
                                                                        (Name of Moving Party)
                                                                         06/06/2024
                                                                        ___________________________________
                                                                        (Date)
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        Phillip R. Malone Eastern District of Pennsylvania
                    Additional Bar Admissions

• United States Court of Appeals for the Third Circuit -- 2015

• United States Court of Appeals for the Fourth Circuit -- 2004

• United States Court of Appeals for the Ninth Circuit – 2004

• United States Court of Appeals for the Tenth Circuit -- 2021

• United States Court of Appeals for the Eleventh Circuit -- 2016

• United States Court of Appeals for the DC Circuit -- 2015

• United States Court of Appeals for the Federal Circuit -- 2018

• United States District Court for the District of Columbia – 2019

• United States District Court for the Northern District of California – 2016

• United States District Court for the Central District of California -- 2016

• United States District Court for the Eastern District of California – 2020

• United States District Court for the Middle District of Tennessee – 2023

• Pro hac vice admissions in a number of states and US District Courts
